Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 1 of 20 PagelD: 21

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
TRENTON VICINAGE

Robert P. Merenich, Esquire (024621993)

GEMMEL, TODD & RENICH, P.A.

767 Shore Road

P. O. Box 296

Linwood, NJ 08221

Phone: (609) 927-7200

Fax: (609) 927-3278

E-Mail: bobmerenich@comcast.net

Attorneys for Defendant, Garden State Growers and
Roy den Hollander

 

 

 

 

 

 

 

ARMANDO PEREZ and ISAHAC _ ;
SERNA MARTINEZ, individually : Civil Action Number:
and _on behalf of all other persons 3:13-cv-05853-MAS-TJB
similarly situated who were employed :
by GA EN STATE GROWERS
LLC and ROY DEN HOLLANDER,,_:
and/or any other entities affiliated with
or controlled by GARDEN STATE
GROWERS LIC and ROY DEN
HOLLANDER, .
Plaintiffs,

vs.
GARDEN STATE GROWERS LLC
and ROY DEN HOLLANDER,

Defendants.

 

 

BRIEF OF DEFENDANTS, GARDEN STATE GROWERS, LCC AND
ROY DEN HOLLANDER
IN SUPPORT OF MOTION TO DISMISS FOR FAILURE TO STATE A
CLAIM UPON WHICH RELIEF CAN BE GRANTED

 

On the Brief: ;
Robert P. Merenich, Esquire
Return Date: November 18, 2013 GEMMEL, TODD & MERENICH, P.A.
Attorneys for Defendants
Garden State Growers, LLC and
Roy den Hollander

 

 
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 2 of 20 PagelD: 22

 

TABLE OF CONTENTS
PAGE NO.
TABLE OF CONTENTS 2.0... 02... eee eee eens i
TABLE OF AUTHORITIES .......0.. 0.0.0.0. 0. eee il
STATEMENT OF FACTS 2.0.0... cece cee 1
POINT ONE 2... ce eee eee een nnes 2

PLAINTIFFS FAIL TO STATE A CLAIM UPON WHICH
RELIEF CAN BE GRANTED BECAUSE, AS IS SET
FORTH AT THEIR OWN COMPLAINT, THEY ARE
AGRICULTURAL WORKERS WHO ARE EXEMPT
FROM OVERTIME UNDER THE FAIR LABOR
PR ERDARDS ACT AND NEW JERSEY’S WAGE AND

CONCLUSION 2... 0.0... ccc cee cence eens 5

 

 
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 3 of 20 PagelD: 23

TABLE OF AUTHORITIES

 

CASES PAGE(S)
Adkins v. Mid-American Growers, Inc., 167 F.3d 355, (7" Cir. 1999) 3,4
Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937,

173 LJ Ed. 2d 868 (2009)

 

 

 

 

 

 

 

 

 

 

 

 

cence ee eet e eee ee ee een teen eens 2

Brennan v. Sugar Cane Growers Coop of Fla.,
486 F.2d 1006 (Sth Cir. 1973) 2 eee eens 3
Farmers Reservoir & Irrigation Co. v McComb, 337 U.S. 755,

Ct. > Wd. 1672 (1949) cee eee 3
Maneja v Waialua Agr. Co, 349 U.S. 254, 75 S. Ct. 719,
99 L.Ed. 1040 (1955) oo ce eee teens 3
Marshall _v Gulf & W. Indus. Inc., 552 F.2d 124 (11th Cir. 1977) ..... 3
Morse v. Lower Merion Sch. Dist., 132 F.3d 902 (3d Cir. 1997) ...... 2
Pacheco v. Whiting Farms, Inc., 365 F.3d 1199 (10th Cir. 2004) ...... 2
Phillips v. County of Allegheny, 515 F.3d 224 (3d Cir. 2008) ........ 2
Sariol v. Florida Crystals Corporation, 490 F.3d
1277 (Lith Cir. 2007) occ cette eee eens 3
Township of Franklin v. den Hollander et al. 172 N.J. 147 (2002) ..... 5
Township of Monroe v. Gasko, 182 N.J.613 (2013) ............... 5
Wirtz v. Jackson & Perkins Co., 312_F.2d 48 (2d Cir. 1963) .......... 4

FEDERAL STATUTES AND ADMINISTRATIVE REGULATIONS

29 C.F.R. §780.105 200. ccc ccc eee eee e eee eee 2,4
29 C.F.R. §780.130 20. e eee e eee eeey 3
29 CF.R. §780.132 2... e cece e eee eees 4
29 CF.R. §780.205 0... e eee e ees 4
29 ULS.C. §203(f) oc cece ee cece eee eens 3

29 U.S.C. §213(aN(6) oo. cee cece ec ceececeeeeeeeneeeeeeeees 2

il

 

 
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 4 of 20 PagelD: 24

STATE STATUTES AND ADMINISTRATIVE REGULATIONS

N.S.A. 4:10-3 cnet eee en eee 5
N.US.A. 34:11-56a4 2 cc een nes 4
N.JS.A. 54:4-23.1 ccc ence eens 5

ill

 

 
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 5 of 20 PagelD: 25

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

Robert P. Merenich, Esquire (024621993)
GEMMEL, TODD & RENICH, P.A.

767 Shore Road

P. O. Box 296

Linwood, NJ 08221

Phone: (609) 927-7200

Fax: (609) 927-3278

E-Mail: bobmerenich@comcast.net

Attorneys for Defendant, Garden State Growers

 

 

 

 

 

ARMANDO PEREZ and ISAHAC a ;

SERNA MARTINEZ, individually =: Civil Action Number:

and on behalf of all other persons 3:13-cv-05853-MAS-TJB
similarly situated who were employed :

by GARDEN STATE GROWERS ; ;

LLC and ROY DEN HOLLANDER,, : Hon. Michael A. Shipp. ;
and/or any other entities affiliated with Hon. Tonianne J. Bongiovanni
or controlled by GARDEN STATE — :

GROWERS LUC and ROY DEN

 

HOLLANDER,

Plaintiffs, : DEFENDANTS, GARDEN

STATE GROWERS, LCC AND
VS. ROY DEN HOLLANDER’S,
BRIEF IN SUPPORT OF
; MOTION TO DISMISS FOR
GARDEN STATE GROWERS LLC FAILURE TO STATE A CLAIM
and ROY DEN HOLLANDER, - FOR WHICH RELIEF CAN BE
GRANTED
Defendants.
STATEMENT OF FACTS

 

99

greenhouse and nursery.

Complaint at Paragraphs 4-6, Count Two.

 

Plaintiffs are two agricultural workers of a putative class of allegedly seventy
(70) or more fellow similarly situated employees who “tend[ed] to vegetation and
perform|[ed | a variety of commercial nursery related tasks at Defendants’ commercial
See Plaintiffs’ Complaint, at Paragraph Twenty-Six
(26), attached hereto as Exhibit A. This complaint was filed on October 1, 2013 and
served on October 7, 2013. Plaintiffs allege, at Count One (1), that they were denied
overtime under the Fair Labor Standards Act. See Plaintiffs’ Complaint at
Paragraphs 39-43, Count One. Plaintiffs allege, at Count Two (2), that they were

denied overtime under the New Jersey Wage and Hour Law. See Plaintiffs’

 
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 6 of 20 PagelD: 26

 

POINT ONE

PLAINTIFFS FAIL TO STATE A CLAIM UPON WHICH RELIEF CAN BE

GRANTED BECAUSE, AS IS SET FORTH AT THEIR OWN COMPLAINT,

THEY ARE AGRICULTURAL WORKERS WHO ARE EXEMPT FROM

OVERTIME UNDER THE PAIR LABOR STANDARDS ACT AND NEW

While in this Motion to Dismiss context, a Court must accept as true all
allegations in the plaintiff's complaint, and view them in the light most favorable to
the plaintiff, see Phillips v. County of Allegheny, 515 F.3d 224, 231 (3d Cir. 2008),
a Court is not required to accept sweeping legal conclusions cast in the form of factual
allegations, unwarranted inferences, or unsupported conclusions. Morse v. Lower
Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997). The complaint must state
sufficient facts to show that the legal allegations are not simply possible, but plausible.
Phillips, 515 F.3d at 234. "A claim has facial plausibility when the plaintiff pleads
factual content that allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662, 129
S.Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009). In short, the complaint must not merely
allege a misconduct, but must demonstrate that the pleader is entitled to relief. See
Igbal, 129 S. Ct. at 1950.

The allegation of Plaintiffs’ complaint renders them agriculture workers and,
therefore, relief is implausible. An employee is exempt from the FLSA’s overtime
provisions if he/she is “employed in agriculture.” See 29 U.S.C. §213(a)(6). While
exemptions to the FLSA are narrowly construe[d] “... [t]he agricultural exemption was
meant to apply broadly and to embrace the whole field of agriculture”. Pacheco v.
Whiting Farms, Inc., 365 F.3d 1199, 1203 (10th Cir. 2004) (internal quotation marks
omitted). The FLSA defines “agriculture” in two ways: (1) “primary agriculture” and
(2) “secondary agriculture.” 29 C.F.R. §780.105. Under the FLSA, agriculture in this
context is defined by statute to include:

farming in all of its branches and among other things includes the cultivation
and tillage of the soil during the production, cultivation, growing and

harvesting of any agricultural or horticultural commodities..the raising of
livestock ... and any practices (including forestry or lumbering operations)

2

 
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 7 of 20 PagelD: 27

performed by a farmer or on a farm as incident to or in conjunction with such
arming operations, including preparations for market, delivery to storage or
to market, or to carriers for transportation to market.
29 U.S.C. Section 203(f)
The United States Supreme Court has construed the statutory definition of agriculture
to include two categories of exempt agricultural practices. Farmers Reservoir &
Irrigation Co. v McComb, 337 U.S. 755, 762-63, 69 S. Ct. 1274, 93 L. Ed. 1672

(1949). The first half of the definition covers primary agriculture, which the Court

 

defines to include specific activities like cultivation and tillage of the soil, dairying,
and harvesting. Id at 762, 69 S. Ct. 1274. The latter half of the definition is more
broadly defined by the Court to include any practices, whether or not themselves
farming practices, which are performed either by a farmer on a farm, incidentally to
or in conjunction with ‘such’ farming operations. Id at 762-63, 69 S. Ct. 1274. These
two categories are commonly referred to as primary agriculture and secondary
agriculture. Marshall v Gulf & W. Indus. Inc., 552 F.2d 124 (11th Cir. 1977).

Workers falling into the category of the "secondary" agricultural exemption
might include, for example, employees who transport workers and supplies to an
employer’s sugar cane fields, those who repair and service equipment necessary to the
farming operations, Maneja v Waialua Agr. Co, 349 U.S. 254, 75 S. Ct. 719, 99 L. Ed.
1040 (1955), employees who fly crop dusting airplanes or cook for field workers,
Brennan v. Sugar Cane Growers Coop of Fla., 486 F.2d 1006 (Sth Cir. 1973), and
employees who deliver fuel to farm machinery and perform maintenance and repair
of the equipment. Sariol v. Florida Crystals Corporation, 490 F.3d 1277 (11th Cir.
2007). The United States Court of Appeals for the Seventh Circuit has held that work
connected with the sale of flower pots by a nursery is exempt. See Adkins v. Mid-
American Growers, Inc., 167 F.3d 355, 357 (7" Cir. 1999).

Garden State Growers LLC, which is a commercial nursery that grows and
cultivates plants, is a “farmer” for purposes of the exemption. See 29 C.F.R. §780.130

(explaining that it is the employer’s status as a farmer that matters, and that the term

 

 
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 8 of 20 PagelD: 28

may apply to corporations as well as individuals). Further, as employees of GSG,
LLC, the plaintiffs are also farmers. See 29 C.F.R. § 780.132 (“‘Farmer’ includes the
employees ofa farmer.”). Courts have applied the agricultural exemption to nurseries.
See, e.g., Adkins v. MidAmerican Growers, Inc., 167 F.3d at 356-58 (discussing scope
of exemption with respect to various activities at large commercial nursery); see also
Wirtz v. Jackson & Perkins Co., 312 F.2d 48, 50-51 (2d Cir. 1963). According to their
complaint, Plaintiffs “tend[ed] to vegetation and perform[ed ] a variety of commercial
nursery related tasks at Defendants’ commercial greenhouse and nursery.” The
Department of Labor has regulations addressing employees of nurseries. If nursery
employees are engaged in “[p]lanting, cultivating, watering, spraying, fertilizing,
pruning, bracing, and feeding the growing crop,” they are employed in agriculture.
29 C.F.R. §780.205. Moreover, under the FLSA, “secondary agriculture” consists of
“any practices ... performed by a farmer or on a farm as incident to or in conjunction
with such farming operations, including preparation for market, delivery to storage or
to market or to carriers for transportation to market.” See 29 C.F.R. §780.105
(explaining that “secondary” agriculture has a “somewhat broader” meaning than
“primary” agriculture). As described in the complaint, Plaintiffs tending to vegetation
and greenhouse nursery work render them primary and secondary agricultural workers
under the FLSA. Accordingly, even under the most favorable interpretation of
Plaintiffs’ complaint, Plaintiffs are agricultural workers exempt from overtime.
Under New Jersey law, an employee “engaged to labor on a farm” is exempt
from the Wage and Hour Law Overtime provisions. See N.J.S.A. 34:11-56a4. Unlike
the fairly extensive administrative interpretation and implementation of the
agricultural exemption under the FLSA, there are no New Jersey administrative
regulations providing any guidance as to the agricultural exemption. However, and
again, Plaintiffs’ complaint states that they are workers at Defendants’ commercial
greenhouse and nursery. Defendants’ commercial greenhouse facility is

unquestionably a commercial farm. As discussed by the New Jersey Supreme Court

 

 
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 9 of 20 PagelD: 29

Jersey’s Wage and Hour Law.
CONCLUSION

Plaintiff's complaint with prejudice.

By: /S/ Robert P. Merenich ___
ROBERT P. MERENICH

 

in Township of Franklin v. den Hollander et al.,172 N.J. 147 (2002), Garden State
Growers is a commercial farm as that term is defined by N.JLS.A. 4:1C-3
(“Commercial farm” means (1) a farm management unit of no less than five acres
producing agricultural or horticultural products worth $2,500 or more annually, and
satisfying the eligibility criteria for differential property taxation pursuant to the
“Farmland Assessment Act of 1964,” P.L.1964, c.48 (C.54:4-23.1 et seq.), or (2) a
farm management unit less than five acres, producing agricultural or horticultural
products worth $50,000 or more annually and otherwise satisfying the eligibility
criteria for differential property taxation pursuant to the “Farmland Assessment Act
of 1964,” P.L.1964, c.48 (C.54:4-23.1 et seq.). Land upon which greenhouse
structures are built are considered farmland. See Township of Monroe v. Gasko, 182
N.J. 613, 619-622 (2013) (the New Jersey Supreme Court, relying upon the New
Jersey constitution and legislative pronouncements, favorably interpreted a New
Jersey farmland assessment exemption for greenhouses structures.) As their complaint

is framed, Plaintiffs are workers on a farm who are not entitled to overtime under New

For all of the foregoing reasons, we respectfully request the Court to dismiss

Date: October 22, 2013 GEMMEL, TODD & MERENICH, P.A.
Attorneys for Defendant Garden State Growers

 

 
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 10 of 20 PagelD: 30

EXHIBIT A
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 11 of 20 PagelD: 31

Case 3:13-cv-05853-MAS-TJB Document 1 Filed 10/01/13 Page 1 of 10 PagelD: 1

Lloyd Ambinder __
Virginia & Ambinder, ELP
111 Broadway, Suite 1403
New York, New York 10006
Tel: (212) 943-9080

Fax: (212) 943-9082

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW JERSEY

ARMANDO PEREZ and ISAHAC SERNA MARTINEZ,
individually and on behalf of all other persons similarly situated | CIVIL ACTION
who were employed by GARDEN STATE GROWERS LLC and | FILE NO:

ROY DEN HOLLANDER, and/or any other entities affiliated with
or controlled by GARDEN STATE GROWERS LLC and ROY
DEN HOLLANDER, ACTION UNBER

Plaintiffs, | 29 U.S.C. § 203 et seq.

-against-

COLLECTIVE ACTION
GARDEN STATE GROWERS LLC and ROY DEN | COMPLAINT

HOLLANDER,

 

Defendants.

 

| Plaintiffs ARMANDO PEREZ and ISAHAC SERNA MARTINEZ (the “Named.
Plaintiffs”) individually and on behalf of all other persons similarly situated who were employed
by GARDEN STATE GROWERS LLC and ROY DEN HOLLANDER and/or any other entities
affiliated with or controlled by GARDEN STATE GROWERS LLC and ROY DEN
HOLLANDER (collectively “Plaintiffs”) by their attorneys, Virginia & Ambinder, LLP, allege

as follows:

NATURE OF ACTION
1. This action is brought pursuant to the Fair Labor Standards Act (hereinafter

referred to as “FLSA”), 29 U.S.C. §§ 207 and 216(b) and New Jersey Statutes §§ 34:11-56a4 ef
seg., to recover unpaid overtime wages owed to the Named Plaintiffs and members of the
putative class for work they performed for GARDEN STATE GROWERS LLC and ROY DEN

HOLLANDER (collectively the “Defendants”).
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 12 of 20 PagelD: 32

Case 3:13-cv-05853-MAS-TJB Document1 Filed 10/01/13 Page 2 of 10 PagelD: 2

2, Beginning in approximately October 2010 and continuing through the present,
Defendants engaged in a policy and practice of requiring the Named Plaintiffs and members of
the putative class to regularly work in excess of forty (40) hours per week, without providing
overtime compensation as required by applicable federal and state law.

3. Under the direction of Defendants’ corporate directors, Defendants instituted this
practice of depriving the Named Plaintiffs and other members of the putative class of
compensation for work performed in excess of forty (40) hours per week, thereby depriving

Plaintiffs of hourly compensation for all hours worked as mandated by federal and state law.

4, The Named Plaintiffs have initiated this action on behalf of themselves and
members of the putative class, seeking unpaid overtime compensation, plus interest, damages,

attorneys’ fees, and costs.

JURISDICTION
5. This Court has original jurisdiction over this action pursuant to the Fair Labor
Standards Act, 29 USC § 216(b) and 28 U.S.C. §§ 1331. ‘This court has supplemental

jurisdiction over all New Jersey State Law claims pursuant to 28 U.S.C. § 1367.

VENUE
6. Venue is appropriate in this Court under 28 U.S.C. § 1391 as this action is brought

in a judicial district where the Defendants reside.
THE PARTIES
7. The Named Plaintiffs reside in the State of New Jersey and performed labor at
Defendants’ commercial greenhouse and nursery.
&. Upon information and belief, Defendant Garden State Growers, LLC (Garden
State Growers”) is a corporation incorporated under the laws of the State of New Jersey, with its

principal location at 99 Locust Grove Rd., NJ 08867.
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 13 of 20 PagelD: 33

Case 3:13-cv-05853-MAS-TJB Documenti Filed 10/01/13 Page 3 of 10 PagelD: 3

9, Upon information and belief, Defendant Roy Den Hollander is an officer and
shareholder of Garden State Growers, and is a resident of New Jersey.

10. Upon information and belief, beginning in or about September 2010, Defendants
employed the Named Plaintiffs and other members of the putative class to perform a variety of
commercial nursery-related tasks at Defendants’ commercial greenhouse and nursery.

ii. Upon information and belief, while working for the Defendants, the Named
Plaintiffs and other members of the putative class were typically required to work more than
forty (40) hours per week.

12. Upon information and belief, while working for the Defendants, the Named
Plaintiffs and other members of the putative class did not receive overtime wages, at the rate of
one and one half times the regular rate of pay, for all of the time in which they worked after the
first forty (40) hours in any given week.

13. At all times relevant to this action, Defendant Roy Den Hollander was an officer,
owner and/or shareholder of Defendant Garden State Growers, and dominated the day-to-day
operating decisions and made major personnel decisions for Garden State Growers.

14. Upon information and belief, Defendant Roy Den Hollander was the principal
executive and/or chief executive of Garden State Growers and (1) had the power to hire and fire
employees; Gi) supervised and controlled employee work schedules or conditions of
employment; (ii) determined the rate and method of payment for employees; and (iv} generated
and maintained employment records.

15. Upen infermation and belief, Roy Den Hollander had complete contro! of the

alleged activities of Defendant Garden State Growers.
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 14 of 20 PagelD: 34

Case 3:13-cv-05853-MAS-TJB Document1 Filed 10/01/13 Page 4 of 10 PagelD: 4

CLASS ALLEGATIONS

16, This action is properly maintainable as a collective action pursuant to the Fair
Labor Standards Act, 29 U.S.C. § 216(b).

17. This action is brought by the Named Plaintiffs on behalf of themselves and a class
consisting of similarly situated employees who performed work at Defendants’ greenhouse other
than office and executive personnel.

1&8.‘ This action is properly maintainable as a class action pursuant to the New Jersey
Rules of Court § 4:32 and NJ. Stat. § 34:11-56a4 ef seg. (Any workman shall be entitled to
maintain for and on behalf of himself or other workmen similarly situated, and such workman
and workmen may designate an agent or representative to maintain such action for and on behalf
of all workmen similarly situated.)

19. This action is brought on behalf of the Named Plaintiffs and a putative class
consisting of each and every other person who performed work at Defendants’ greenhouse othe
than office and executive personnel.

20. The putative class is so numerous that joinder of all members is impracticable.
The size of the putative class is believed to be in excess of seventy (70) similarly situated
individuals. In addition, the names of all potential members of the putative class are not known.

21. The questions of law and fact common to the putative class predominate over any
questions affecting only individual members. These questions of law and fact include, but are
not limited to, whether the Defendants failed to pay overtime wages, at the rate of one and one
half times the regular rate of pay, for all hours worked in excess of forty (40) hours in any given
week,

22. The claims of the Named Plaintiffs are typical of the claims of the putative class.

4.
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 15 of 20 PagelD: 35

Case 3:13-cv-05853-MAS-TJB Document1 Filed 10/01/13 Page 5 of 10 PageiD: 5

23. The Named Plaintiffs and the putative class were all subject to Defendants’
policies and willful practices of failing to pay overtime wages, at the rate of one and one half
times the regular rate of pay, for all hours worked in excess of forty (40) hours in any given
week.

24, The Named Plaintiffs and their counsel will fairly and adequately protect the
interests of the putative class. The Named Plaintiffs have retained counsel experienced in
complex wage and hour class action litigation.

25. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy. The individual Named Plaintiffs and putative class lack the
financial resources to adequately prosecute separate lawsuits against Defendants. A class action
will also prevent unduly duplicative litigation resulting from inconsistent judgments pertaining to
the Defendants’ policies, |

FACTS

26, Upon information and belief, beginning in or about October 2010, the Defendants
employed Named Plaintiffs and other members of the putative class to tend to the vegetation and
perform a variety of commercial nursery-related tasks at Defendants’ commercial greenhouse
and nursery.

27, Upon information and belief, while working for the Defendants, the Named
Plaintiff and the members of the putative class were regularly required to perform work for the
Defendants without receiving overtime compensation as required by applicable federal and state
law.

28. Upon information and belief, under 29 U.S.C. § 201, ef seg., and the cases

interpreting same, Garden State Growers constitutes an “enterprise engaged in commerce.”
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 16 of 20 PagelD: 36

Case 3:13-cv-05853-MAS-TJB Document1 Filed 10/01/13 Page 6 of 10 PagelD: 6

29. Upon information and belief, Defendants’ gross yearly revenues are in excess of
$500,000.00.

30. Specifically, Plaintiff Armando Perez (“Perez”) worked as an employee of the
Defendants from approximately April 1997 until approximately August 2013. Plaintiff Perez,
performed a variety of commercial nursery-related tasks for the Defendants at Defendants’
greenhouse and nursery.

31. During the spring, summer, and early autumn months, Plaintiff Perez typically
worked in excess of ten (10) hours per day, six (6) days per week. During late autumn and
winter months, Plaintiff Perez typically worked no less than eight (8) hours per day four (4) to
five (5) days per week. Plaintiff Perez was paid via check a flat rate up to $12.50 per hour,
regardless of the hours he worked each day for the Defendants.

32, Plaintiff Isahac Serna Martinez (“Martinez”) worked as an employee of the
Defendants from approximately 1996 until approximately 2013. Plaintiff Martinez performed a
variety of commercial nursery-related tasks for the Defendants at Defendants’ greenhouse and
nursery.

33. During the spring, summer, and early autumn months, Plaintiff Martinez typically
worked in excess of ten (10) hours per day, six (6) days per week. During late autumn and
winter months, Plaintiff Martinez typically worked no less than eight (8) hours per day four (4)
to five (5) days per week. Plaintiff Martinez was paid via check a flat rate up to $11.50 per hour,
regardless of the hours he worked each day for the Defendants.

34, Upon information and belief, while working for the Defendants, the Named
Plaintiffs and the members of the putative class did not receive any overtime wages, at the rate of

one and one half times the regular rate of pay, for the time in which they worked after the first
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 17 of 20 PagelD: 37

Case 3:13-cv-05853-MAS-TJB Document1 Filed 10/01/13 Page 7 of 10 PagelD: 7

forty (40) hours in any given week.

35. Upon information and belief, and at all times relevant to this action, Defendant
Roy Den Hollander was an officer, president, owner and/or shareholder of Garden State
Growers, and () had the power to hire and fire employees for that entity; (i) supervised and
controlled employee work schedules or conditions of employment for Garden State Growers;
Gii) determined the rate and method of payment for Garden State Growers’s employees; and (iv)
maintained employment records for Garden State Growers.

36. Upon information and belief, Defendant Roy Den Hollander dominated the day-
to-day operating decisions of Garden State Growers, made major personnel decisions for Garden
State Growers, and had complete control of the alleged activities of Garden State Growers which
give rise to the claims brought herein.

37. Upon information and belief, Defendant Roy Den Hollander was a supervisor,
officer and/or agent of Defendant Garden State Growers, who acted directly or indirectly in the
interest of Garden State Growers, and is an employer within the meaning of the Fair Labor
Standards Act. Roy Den Hollander, in Is capacity as owner, fmance executive, and sales
executive, actively participated in the unlawful method of payment for Garden State Growers’
employees. The Named Plaintiffs and other members of the putative class performed labor for
the benefit of and at the direction of Defendant Roy Den Hollander.

FIRST CAUSE OF ACTION
AGAINST DEFENDANTS
ELSA OVERTIME COMPENSATION

38. Plaintiffs repeat and reallege the allegations set forth in paragraphs 1 through 37

hereof.

39. Pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C § 207, “no

employer shall employ any of their employees who in any workweek is engaged in commerce or
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 18 of 20 PagelD: 38

e 3:13-cv-05853-MAS-TJB Document 1 Filed 10/01/13 Page 8 of 10 PagelD: 8

in the production of goods for commerce, or is employed in an enterprise engaged in commerce
or in the production of goods for commerce, for a workweek longer than forty hours unless such
employee receives compensation for their employment in excess of the hours above specified at
arate not less than one and one-half times the regular rate at which he is employed.”

40. Further, pursuant to 29 U.S.C. § 203(d), an “employer” includes “any person
acting directly or indirectly in the interest of an employer in relation to an employee and includes
a public agency, but does not include any labor organization (other than when acting as an
employer) or anyone acting in the capacity of officer or agent of such labor organization.”

41. The Named Plaintiffs and other members of the putative class are employees
within the meaning contemplated in Fair Labor Standards Act (“FLSA”), 29 U.S.C. 8203,

42, Defendants Garden State Growers and Roy Den Hollander are “employers”,
within the meaning contemplated in the FLSA, 29 U.S.C, § 203, and, consequently, are lable for
violations of FLSA,

43. Upon information and belief, Defendants failed to pay the Named Plaintiffs and
other members of the putative class all earned overtime wages, at the rate of one and one half
times the repular rate of pay, for the time in which they worked after the first forty hours in any
given week.

44, The failure of Defendants to pay the Named Plaintiffs and other members of the
putative class their rightfully owed wages and overtime compensation was willful.

WHEREFORE, the Named Plaintiffs and the putative class demand judgement for:

(a) damages;
(b) attorneys fees;

(c) costs of suit.
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 19 of 20 PagelD: 39

Case 3:13-cv-05853-MAS-TJB Documenti Filed 10/01/13 Page 9 of 10 PagelD: 9

SECOND CAUSE OF ACTION
AGAINST 'THE DEFENDANTS
FOR NEW JERSEY OVERTIME COMPENSATION

45. Plaintiffs repeat and reallege the allegations set forth in paragraphs 1 through 44
hereof.

46. In violation of New Jersey Statutes §§ 34:11-56a4 ef seq., the Defendants willfully
failed to pay the Named Plaintiffs and other members of the putative class their statutorily
required overtime compensation for the time they worked in excess of forty (40) hours a week
for the Defendants.

WHEREFORE, the Named Plaintiffs and the putative class demand judgment for:

(d} damages;
{e) attorneys fees;

(f) costs of suit.

WHEREFORE, Plaintiffs demand judgment:
(1) on their first cause of action, against Defendants in an amount to be determined at
irtal, plus liquidated damages as permitted under the FLSA in the amount equal to the amount of

unpaid wages, interest, attorneys’ fees and costs;

(2) on their second cause of action, in an amount to be determined at trial, plus interest,

attorneys’ fees and costs;

(3) any other and further relief the Court may deem appropriate.

0.
Case 3:13-cv-05853-MAS-TJB Document 4-1 Filed 10/22/13 Page 20 of 20 PagelD: 40

Case 3:13-cv-05853-MAS-TJB Documenti Filed 10/01/13 Page 10 of 10 PagelD: 10

Dated: New York, New York
October 1, 2013

VIRGINIA & AMBANDER, LLP

By:
Lloyd Ambinder, Esq.

Jack Newhouse, Esq.

Attorneys for the Named Plaintiffs and the Putative
Class

‘Trinity Centre

111 Broadway, 14" Floor

New York, New York 10006

(212) 943-9080

 

-10-
